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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

[mi] Original Plan
oO Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Marty-Taylor Bey JOINT DEBTOR: CASE NO.: 19-23123
SS#: xxx-xx- 5973 SS#: xxxexx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section II], which may result in a
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

[] Included {m] Not included

 

 

 

 

 

 

oul in Section IIT [] Included {m] Not included
Nonstandard provisions, set out in Section VIII [] Included [m] Not included
I. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustec's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. $936.39 formonths_ 1 to_60_;
2. $0.00 formonths sto. =;
3. $0.00 formonths sito, C'S;
B. DEBTOR(S)' ATTORNEY'S FEE: {®) NONE [a] PRO BONO

1. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [] NONE

[Retain Liens pursuant to 1] U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
1. Creditor: Bayview Loan Servicing LLC

 

Address: c/o Wanda D. Murray Arrearage/ Payoff on Petition Date 18,010.00
Esquire .

. : Regular P Maint .
Aldridge Pite LLP egular Payment (Maintain) $551.11 /month (Months

 

to 60.)

1
Fifteen Piedmont Center Arrears Payment (Cure) $300.16 ‘month (Months | to 60 )
3575 Piedmont Road, NE oO
Suite 500
Atlanta, GA 30305

Last 4 Digits of
Account No.: 6326

Other:

 

 

 

 

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Debtor(s): Marty-Taylor Bey Case number: 19-23123

 

 

[mi] Real Property
[m[Principal Residence

[_jOther Real Property

Address of Collateral:
1105 NW 151 Street, Miami, FL 33169

[| Personal Property/Vehicle

 

Description of Collateral: Debtor's homestead

Check one below for Real Property:
[_]Escrow is included in the regular payments

[m]The debtor(s) will pay [m}taxes [insurance directly

 

 

B. VALUATION OF COLLATERAL: [lj] NONE

C. LIEN AVOIDANCE [li] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a

distribution fom the Chapter 13 Trustce.
[fm] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution

fom the Chapter 13 Trustee.
[=] NONE

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [@] NONE
B. INTERNAL REVENUE SERVICE: [if] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [li] NONE

D. OTHER: [i] NONE

Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $50.00 /month (Months to )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. (J If checked, the Debtor(s) will amend/moadify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mi] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority

creditors pursuant to 11 U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[w] NONE

VIL. INCOME TAX RETURNS AND REFUNDS: [7] NONE

[m] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
annual basis during the pendency of this case, The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

VIII. NON-STANDARD PLAN PROVISIONS [ml] NONE

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Debtor(s): Marty-Taylor Bey Case number: 19-23123

 

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

Debtor Joint Debtor
Marty-Taylor Bey Date Date
Carolina A. Lombardi October 15, 2019
Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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